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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



MIKHAIL FRIDMAN, PETR AVEN, and
GERMAN KHAN,

                  Plaintiffs,

v.                                           Civil Action No. 1:17-2041-RJL

BEAN LLC a/k/a FUSION GPS, and GLENN
SIMPSON,

                  Defendants.



     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE WHY DEFENDANTS’
  COUNSEL SHOULD NOT BE SANCTIONED FOR THEIR BACK-CHANNEL
    OUTREACH TO PLAINTIFFS DESPITE KNOWING PLAINTIFFS ARE
                    REPRESENTED IN THIS CASE
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                                       INTRODUCTION

        On April 8, 2021, Defendants’ counsel William (Bill) Taylor called Plaintiff Khan’s son-

in-law for the express purpose of establishing a back-channel line of communication with

Plaintiffs—intentionally and knowingly bypassing Plaintiffs’ counsel—to convey a settlement

overture from Defendants to Plaintiffs. In so doing, Mr. Taylor stated that he represents Defendant

Fusion GPS, told Plaintiff Khan’s son-in-law that “I know you are savvy,” alluded to various

rulings by this Court, told Plaintiff Khan’s son-in-law that it would be in Plaintiffs’ interests to

settle this case in light of those rulings, and asked and encouraged Plaintiff Khan’s son-in-law to

convey his settlement overture to Plaintiffs. Mr. Taylor further told Plaintiff Khan’s son-in-law

that although he still represents Fusion GPS, Joshua A. Levy is counsel (of record) to Defendants

in this case.

        Upon learning of Mr. Taylor’s back-channel outreach to Plaintiffs, Plaintiffs’ counsel

contacted both Mr. Taylor and Mr. Levy. Mr. Taylor admitted calling Plaintiff Khan’s son-in-law

and making a settlement overture to him to convey to Plaintiffs. Defendants’ current counsel-of-

record Mr. Levy, however, has refused to discuss or provide any information about Defendants’

counsel’s back-channel outreach to Plaintiffs through Plaintiff Khan’s son-in-law. Plaintiffs’

counsel has asked Mr. Levy no fewer than six times to:

    •   “Please confirm that you were not aware of Mr. Taylor’s effort and that you did not
        authorize it.”
    •   Explain “how this effort came about, and who did authorize it.”
    •   “Please confirm that there have not been—and that there will not be—any similar
        clandestine attempts by counsel for Defendants to skirt the prohibitions on communications
        with parties represented by counsel.”

        But Mr. Levy has flatly refused to provide that information. Mr. Levy has conspicuously

refused to deny authorizing Mr. Taylor’s back-channel outreach to Plaintiffs through Plaintiff

Khan’s son-in-law. He has refused to explain how that back-channel outreach came about. And


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he has conspicuously refused to deny that there have not been other attempted back-channel

outreaches to Plaintiffs.

        Plaintiffs file this motion reluctantly and only because it is absolutely necessary.

Plaintiffs—and their counsel—are loathe to level accusations or seek sanctions against opposing

counsel and prefer to focus their efforts on litigating the merits of this case. But the facts outlined

above and detailed herein make clear that Defendants’ counsel have egregiously violated

D.C. Rules of Professional Conduct 4.2 and 8.4, as well as this Court’s Local Civil Rule 83.15(a)—

and have threatened the integrity of this proceeding.

        Accordingly, Plaintiffs respectfully move for an Order to Show Cause why Defendants’

counsel-of-record Mr. Levy and his partner Rachel Clattenburg, and Defendants’ counsel and

former counsel-of-record Mr. Taylor—all of whom are D.C.-licensed attorneys—should not be

sanctioned for attempting to establish a back-channel line of communication with Plaintiffs,

through Plaintiff Khan’s family member, to convince Plaintiffs to settle this case, knowingly

bypassing Plaintiffs’ counsel in violation of D.C. Rules of Professional Conduct 4.2 and 8.4 and

this Court’s Local Civil Rule 83.15(a); Paul v. Jud. Watch, Inc., 571 F. Supp. 2d 17, 20 (D.D.C.

2008) (“The District of Columbia Rules of Professional Conduct govern the practice of law in this

District.”).

                                  RELEVANT BACKGROUND

        The facts that give rise to this Motion for an Order to Show Cause are simple and

straightforward.

        A.     Defendants’ Counsel Contacts Plaintiff Khan’s Son-in-Law to Establish a
               Back-Channel of Communication with Plaintiffs About This Case Despite
               Knowing They Are Represented by Counsel in this Case.

        1.     From the outset of this case until November 15, 2019, Defendants were represented

in this case by William (Bill) Taylor, a partner in the law firm Zuckerman Spaeder LLP, who


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served as Defendants’ counsel-of-record in this case.1 From his representation of Defendants in

this case (and his ongoing representation of a third-party in this case), Mr. Taylor knows (and has

known at all relevant times) that Plaintiffs are and have at all times been represented by counsel in

this case.

        2.     Since June 2019, Defendants have also been represented by Joshua A. Levy and

Rachel M. Clattenburg, partners in the law firm Levy Firestone Muse LLP. 2 From their

representation of Defendants in this case, Mr. Levy and Ms. Clattenburg know (and have known

at all relevant times) that Plaintiffs are and have at all times been represented by counsel in this

case.

        3.     On April 8, 2021, Mr. Taylor contacted Plaintiff Khan’s son-in-law, Alex Rolf van

der Zwaan, directly through an unsolicited telephone call.3

        4.     During that telephone call, Mr. Taylor told Mr. van der Zwaan that he and his law

firm (Zuckerman Spaeder LLP) continue to represent Defendant Fusion GPS and have

involvement in this case (even though they are no longer Defendants’ counsel-of-record).4

        5.     During that telephone call, Mr. Taylor, acting for and as an agent of Defendant

Fusion GPS, made an explicit settlement overture to Mr. van der Zwaan.5 Mr. Taylor told Mr. van

der Zwaan that “I know you are savvy,” alluded to a belief that the Court’s then-recent discovery

rulings put some kind of undesired pressure on Plaintiffs, and encouraged Mr. van der Zwaan to

take the message to his father-in-law, Plaintiff Khan, that it would be in Plaintiffs’ interests to



1  See Docket, Fridman v. Bean, LLC, No. 17-cv-2041 (D.D.C.); Notice of Withdrawal of
Appearance of William W. Taylor, III (Nov. 15, 2019) [Dkt. 72].
2 See Notice of Appearance of Joshua A. Levy (June 17, 2019) [Dkt. 61]; Notice of Appearance of

Rachel M. Clattenburg (June 17, 2019) [Dkt. 62].
3 Decl. of Alex Rolf van der Zwaan ¶¶ 2-3 (July 8, 2021) (“van der Zwaan Decl.”)
4 Id. ¶¶ 4-5.
5 Id.




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settle this case in light of those rulings. 6 Mr. Taylor told Mr. van der Zwaan that “it would be

helpful” if he did so.7 In addition, Mr. Taylor told Mr. van der Zwaan that Joshua Levy is currently

representing Defendants in this case. 8

       6.      Mr. Taylor’s clear purpose in contacting Mr. van der Zwaan was to establish a back-

channel of communication with Plaintiffs, bypassing Plaintiffs’ counsel—right after Plaintiffs,

through their counsel, rejected a settlement overture from Defendants’ counsel.

       B.      Plaintiffs’ Counsel Ask Defendants’ Counsel Six Times About Their Contacts
               with Plaintiff Khan’s Son-in-Law, But They Refuse to Offer Any Explanation
               for Those Contacts.

       7.      Following Mr. Taylor’s unsolicited (and improper) telephone call to Plaintiff

Khan’s son-in-law, Plaintiffs’ counsel contacted Mr. Taylor and Mr. Levy to ask about that call. 9

       8.      Mr. Taylor confirmed that he called Mr. van der Zwaan and that he had made a

settlement overture to him to convey to Plaintiffs.10

       9.      After summarizing Mr. Taylor’s outreach to Plaintiff Khan’s son-in-law and noting

that that contact violates D.C. Rule of Professional Conduct 4.2, Plaintiffs’ counsel explained that

“this ‘back-channel’ outreach raises several concerns that need to be addressed,” and asked

Mr. Levy:

       First, please confirm that you were not aware of Mr. Taylor’s effort and that you
       did not authorize it. Second, we would like to know how this effort came about,
       and who did authorize it. And finally, please confirm that there have not been—
       and that there will not be—any similar clandestine attempts by counsel for
       Defendants to skirt the prohibitions on communications with parties represented by
       counsel.11


6 Id. ¶ 5.
7 Id.
8 Id. ¶ 6.
9 Decl. of Thomas A. Clare, P.C. ¶ 2 (July 8, 2021) (“Clare Decl.”).
10 Id.
11 Id. ¶ 3 & Ex. A at 1-2 (Letter from T. Clare to J. Levy (Apr. 16, 2021)). Emphasis added unless

otherwise noted.


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Plaintiffs’ counsel asked Mr. Levy these questions because he wanted to give Mr. Levy the benefit

of the doubt, not assume that he or his partner were complicit in Mr. Taylor’s back-channel

outreach to Plaintiffs, and give Mr. Levy a chance to explain the circumstances. 12

        10.     Mr. Levy ignored Plaintiffs’ counsel’s letter. 13

        11.     Thus, Plaintiffs’ counsel raised the issue with Mr. Levy a second time, in an

April 28, 2021 email to Mr. Levy asking for “a response to the questions raised in my letter” about

the back-channel outreach to Plaintiffs through Plaintiff Khan’s son-in-law.14

        12.     Mr. Levy again ignored Plaintiffs’ counsel’s request even though he responded to

Plaintiffs’ counsel’s email and addressed other issues raised in that email. 15

        13.     Thus, Plaintiffs’ counsel raised the issue with Mr. Levy a third time, in a May 12,

2021 letter to Mr. Levy.16 Plaintiffs’ counsel explained:

        You have also failed to respond to our questions regarding the improper attempt to
        communicate with Plaintiff German Khan, which we raised in both an April 16
        letter and April 28 email. We again reiterate our request that you confirm that
        Defendants will cease attempting to communicate with Plaintiffs outside of the
        proper channel and again ask that you respond to the other issues we raised in our
        prior communications to you.17

        14.     Mr. Levy again ignored Plaintiffs’ counsel’s request even though he responded to

other issues raised in Plaintiffs’ counsel’s letter. 18

        15.     Thus, Plaintiffs’ counsel raised the issue with Mr. Levy a fourth time, in a May 13,

2021 response to Mr. Levy’s email:

        [W]e respectfully ask—again—that you (1) respond to our questions regarding the
        improper attempt to communicate with Plaintiff German Khan (who, as you know,

12 Id.
13 Id.
14 Id. ¶ 4 & Ex. B (Email from T. Clare to J. Levy (Apr. 28, 2021)).
15 Id. ¶ 5 & Ex. C (Email from J. Levy to T. Clare (Apr. 29, 2021)).
16 Id. ¶ 6 & Ex. D at 4 n.11 (Letter from T. Clare & J. Oliveri to J. Levy (May 12, 2021)).
17 Id.
18 Id. ¶ 7 & Ex. E (Email from J. Levy to J. Oliveri (May 13, 2021, 9:24 a.m.)).




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       is represented by counsel in this case), which we raised with you nearly a month
       ago (in both an April 16 letter and an April 28 email) but to which you have thus
       far refused to respond; and (2) respond to the other issues we raised in our prior
       communications to you. ... We hope you will cooperate. 19

       16.      Mr. Levy again ignored Plaintiffs’ counsel’s request even though he responded to

Plaintiffs’ counsel’s email and addressed other issues raised in it. 20

       17.      Thus, Plaintiffs’ counsel raised the issue with Mr. Levy a fifth time, in another

May 13, 2021 email, in which Plaintiffs’ counsel again asked Mr. Levy to address and explain (if

possible) Mr. Taylor’s improper outreach to Plaintiffs through Plaintiff Khan’s son-in-law:

       I note for the record that, once again, in your email below you did not address the
       issue of the back-channel outreach to Plaintiff Khan (through his son-in-law) from
       Defendants’ former counsel in this case—which we have raised with you numerous
       times now. As [Plaintiffs’ counsel] explained in his April 16 letter to you, the
       attempt by Defendants’ counsel to communicate a settlement offer to a family
       member of Mr. Khan raises significant concerns and clearly violates the spirit, if
       not the letter, of D.C. Rule of Professional Conduct 4.2.

       We have asked you multiple times to:

             1. Please confirm that you were not aware of the effort to go around
                Mr. Khan’s counsel and communicate with Mr. Khan and that you did not
                authorize it—or confirm that you were aware of that effort and/or did
                authorize it.

             2. Please explain how this effort came about, and who did authorize it.

             3. Please confirm that there have not been—and that there will not be—any
                similar clandestine attempts by counsel for Defendants.

       To date, you have ignored our requests to explain this issue and confirm that it will
       not happen again. Please promptly provide this information. 21

       18.      Four days later, Mr. Levy (for the first time) acknowledged Plaintiffs’ counsel’s

requests that he address Mr. Taylor’s attempted back-channel communication with Plaintiffs




19 Id. ¶ 8 & Ex. F (Email from J. Oliveri to J. Levy (May 13, 2021, 9:43 a.m.)).
20 Id. ¶ 9 & Ex. G (Email from J. Levy to J. Oliveri (May 13, 2021, 10:38 a.m.)).
21 Id. ¶ 10 & Ex. H (Email from J. Oliveri to J. Levy (May 13, 2021, 11:28 a.m.)).




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through Plaintiff Khan’s son-in-law—but Mr. Levy refused to offer any explanation or justification

for that outreach, stating only that providing any facts about that outreach “would require [him] to

reveal privileged information.”22 And although Mr. Levy stated that “no attorney for [his] clients

will contact anyone associated with [Plaintiffs’ counsel’s] clients about this case other than

[Defendants’ counsel],” he refused to address Defendants’ counsel’s prior outreach. 23

       19.     As such, Defendants’ counsel have left critical questions unanswered, including:

               (a)     Were Mr. Levy and/or Ms. Clattenburg (Defendants’ current counsel-of-
                       record) aware of Mr. Taylor’s back-channel outreach to Plaintiffs through
                       Plaintiff Khan’s son-in-law (before or after that outreach)?

               (b)     Did Mr. Levy and/or Ms. Clattenburg authorize Mr. Taylor’s back-channel
                       outreach to Plaintiffs?

               (c)     How did Defendants’ counsel’s back-channel outreach to Plaintiffs come
                       about? Who authorized it?

               (d)     Have Mr. Levy, Ms. Clattenburg, Mr. Taylor, or any of Defendants’ other
                       counsel contacted or attempted to contact Plaintiffs’ family members or
                       others on other occasions to try to establish a back-channel of
                       communication with Plaintiffs, bypassing Plaintiffs’ counsel?

       20.     In a final effort to avoid needing to file the instant Motion, Plaintiffs’ counsel raised

this issue with Mr. Levy a sixth time, in a July 1, 2021 email to My. Levy. 24 But Mr. Levy refused

to answer Plaintiffs’ counsel’s questions. 25

       21.     Mr. Levy similarly refused to address Defendants’ counsel’s back-channel outreach

to Plaintiffs during a Rule 7(m) conference prior to the filing of this motion, and in a follow-up

email simply repeated his statement that Defendants’ counsel would not engage in back-channel

outreach “in the future” and added that, aside from Mr. Taylor’s outreach, Defendants’ counsel


22 Id. ¶ 11 & Ex. I (Email from J. Levy to J. Oliveri (May 17, 2021)).
23 Id.
24 Id. ¶ 12 & Ex. J (Email from J. Oliveri to J. Levy (July 1, 2021, 4:56 p.m.)).
25 Id. ¶ 13 & Ex. K (Email from J. Levy to J. Oliveri (July 1, 2021, 8:25 p.m.) and Email from J.

Oliveri to J. Levy (July 1, 2021, 10:17 p.m.)).


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had not “had any contact with Plaintiffs through anyone other than their counsel,” without

addressing whether any other attempts had been made.26

          22.     Accordingly, because these and other questions about Defendants’ back-channel

outreach to Plaintiffs about this case remain unanswered, because it appears that Mr. Levy and

potentially Ms. Clattenburg (Defendants’ counsel-of-record) knew about and potentially

authorized Mr. Taylor’s back-channel outreach, and because Defendants’ counsel may have

attempted such outreach on other occasions, Plaintiffs bring this Motion to Show Cause why

Defendants’ counsel should not be sanctioned, to compel Defendants’ counsel to provide answers

to those questions (which plainly do not implicate privileged information), and to issue sanctions

if appropriate.

                                            ARGUMENT

     The Court Should Issue an Order to Show Cause Why Defendants’ Counsel Mr. Levy,
     Ms. Clattenburg, and Mr. Taylor Should Not Be Sanctioned for Bypassing Plaintiffs’
      Counsel and Attempting to Establish Back-Channel Communications with Plaintiffs
                                    Regarding This Case

          D.C. Rule of Professional Conduct 4.2—which binds all D.C.-licensed attorneys—is clear.

It is “elementary” that:

          During the course of representing a client, a lawyer shall not communicate or
          cause another to communicate about the subject of the representation with a
          person known to be represented by another lawyer in the matter, unless the lawyer
          has the prior consent of the lawyer representing such other person or is authorized
          by law or a court order to do so.

D.C. Rule of Professional Conduct 4.2(a); In re Jumper, 984 A.2d 1232, 1249 (D.C. 2009).

Similarly, D.C. Rule of Professional Conduct 8.4 provides that “[i]t is professional misconduct for

a lawyer to ... [v]iolate or attempt to violate the Rules of Professional Conduct, knowingly assist

or induce another to do so, or do so through the acts of another.” D.C. Rule of Professional


26   Id. ¶ 14 & Ex. L (Email from J. Levy to J. Oliveri (July 6, 2021)).


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Conduct 8.4(a). And Local Civil Rule 83.15 expressly makes these Rules applicable to attorneys

practicing before this Court, providing that “[v]iolations of the Rules of Professional Conduct (as

adopted by the District of Columbia Court of Appeals ...) by attorneys subject to these Rules shall

be grounds for discipline, whether or not the act or omission occurred in the course of an attorney-

client relationship.” Local Civ. R. 83.15(a); Paul v. Jud. Watch, Inc., 571 F. Supp. 2d 17, 20

(D.D.C. 2008) (“The District of Columbia Rules of Professional Conduct govern the practice of

law in this District.”).

        Because these Rules protect the integrity of judicial proceedings, courts rigorously enforce

them. See, e.g., In re Chaganti, 144 A.3d 20, 23, 26 (D.C. 2016) (suspending attorney from

practice of law for knowingly contacting a represented party to discuss settlement of case involving

that party). As particularly relevant here, this District has explained that Rule 4.2 is violated where

an attorney attempts “to establish ... a backchannel of communication” with a represented party.

Annapolis Citizens Class Overcharged for Water-Sewer, by Loudon Operations, LLC v. Stantec,

Inc., No. 20-cv-2603, 2021 WL 75766, at *14 (D.D.C. Jan. 8, 2021). And there is “ample

authority” to conclude that this Rule is violated even where an attorney “participat[e]s in the efforts

of” another “to engage in improper communications,” even though he does not send those

communications himself. Cobell v. Norton, 212 F.R.D. 14, 21 (D.D.C. 2002).

        Here, it is undisputed that Defendants’ counsel Mr. Taylor, despite knowing that Plaintiffs

are represented by counsel, called Plaintiff Khan’s son-in-law (without consent or authorization)

for the express purpose of establishing a back-channel line of communications with Plaintiffs to

convey a settlement overture from Defendants to Plaintiffs. And it appears highly likely that

Mr. Levy (and potentially Ms. Clattenburg) knew about and even authorized Mr. Taylor’s outreach

to Plaintiff Khan’s son-in-law to establish a back-channel of communications with Plaintiffs about




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this case—and that Mr. Taylor’s outreach to Plaintiff Khan’s son-in-law may not have been

Defendants’ counsel’s only attempt to establish that back-channel of communications. But

Mr. Levy has refused to provide information necessary to evaluate his knowledge of and/or

participation in those back-channel communications.

       Accordingly, Plaintiffs bring this Motion to Show Cause why Defendants’ counsel should

not be sanctioned—to compel Defendants’ counsel to provide information necessary to evaluate

the serious issues raised herein and to issue sanctions if appropriate.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court issue an Order to

Show Cause why Defendants’ counsel should not be sanctioned (and, if appropriate, referred to

the Committee on Grievances), to compel Defendants’ counsel to provide complete information

about their back-channel outreach to Plaintiffs and any similar outreach that they have engaged in,

authorized, or are aware of, and to issue sanctions if appropriate.



 Dated: July 8, 2021                             Respectfully submitted,

                                                   /s/ Thomas A. Clare, P.C.
                                                 Thomas A. Clare, P.C. (DC Bar No. 461964)
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                                                 Petr Aven, and German Khan



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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Memorandum of Points and Authorities in Support of

Plaintiffs’ Motion for an Order to Show Cause Why Defendants’ Counsel Should Not Be

Sanctioned for Their Back-Channel Outreach to Plaintiffs Despite Knowing Plaintiffs Are

Represented in This Case was filed electronically with the Clerk of Court on July 8, 2021, using

the CM/ECF system, which will send notification of such filing to all counsel of record.

       I further certify that on July 8, 2021 a true and correct copy of the foregoing Motion was

served on William (Bill) W. Taylor, III via electronic mail and Federal Express overnight, postage

pre-paid, to the following address:

William W. Taylor, III
ZUCKERMAN SPAEDER LLP
1800 M. Street, NW, Suite 1000
Washington, D.C. 20036
wtaylor@zuckerman.com


                                                 /s/ Thomas A. Clare, P.C.
                                                Thomas A. Clare, P.C.




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